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[jiffyordnh] [Bench Order No Hearing +]



                                              ORDERED.
   Dated: November 05, 2024




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                     Case No. 6:24−bk−03843−LVV
                                                                           Chapter 7

Chaim Levilev




________Debtor*________/


                    ORDER GRANTING MOTION TO ALLOW ZOOM APPEARANCE

           THIS CASE came on for consideration without a hearing of the Motion to Allow Zoom
         Appearance (Doc. 46 ), filed by Attorney David Berenthal .

            The Court having considered the record, the Motion to Allow Zoom Appearance is Granted .



            The Court in its discretion may file written findings of facts and conclusions of law at a later
         date.

            Service Instructions:

            Attorney David Berenthal is directed to serve a copy of this order on interested non−CM/ECF
         users and file a proof of service within three (3) days of entry of the order.

         *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by
         two individuals.
